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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                     CASE NO: 4:24CR3018
       vs.

MICHAEL A. NOLTE,                                        DETENTION ORDER
               Defendant.



      The defendant is charged with a felony involving a minor victim. On the
government's motion, the court held a detention hearing under the Bail Reform
Act, 18 U.S.C. § 3142(f). The court concludes the defendant must be detained.

      There is a rebuttable presumption that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance at court
proceedings and the safety of the community because there is probable cause to
believe the defendant committed a felony involving a minor. The defendant has
not adequately rebutted this presumption.
      Based on the evidence presented and information of record, the court finds
by a preponderance of the evidence that the defendant's release would pose a risk
of nonappearance at court proceedings, and by clear and convincing evidence that
the defendant's release would pose a risk of harm to the public .

      Specifically, the court finds the defendant has a criminal history of violating
the law and court orders; has failed to appear for court proceedings in the past;
and, based upon the testimony of FBI Special Agent Amber Mann, the weight of
the evidence against Defendant is substantial.

      Conditions which restrict Defendant’s travel, personal contacts, and
possession of drugs, alcohol, and/or firearms; require reporting, education,
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employment, or treatment; or monitor Defendant’s movements or conduct; or any
combination of these conditions or others currently proposed or available (see 18
U.S.C. § 3142(c)), will not sufficiently ameliorate the risks posed if the defendant
is released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to
consult privately with defense counsel. On order of the United States Court or on
request of an attorney for the Government, the person in charge of the corrections
facility must deliver the defendant to the United States marshal for a court
appearance.

      Dated this 23rd day of January, 2024.


                                             BY THE COURT:
                                             s/ Jacqueline M. DeLuca
                                             United States Magistrate Judge
